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Exhibit J
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IN THE UNITED STATES DISTRICT COURT

 

FOR THE DISTRICT OF UTAH
DECLARATION OF ROGER J.
In re DMCA Subpoena to Cloudflare, Inc. MCCONKIE PURSUANT TO 17 U.S.C.
§ 512(h)
Case No:

 

 

 

I, Roger J. McConkie, declare under criminal penalty of the State of Utah that the
following is true and correct:

1. lam a member in good standing of the Utah State Bar. I am duly licensed to
practice by the United States District Court of the District of Utah.

2. Tam a shareholder with the law firm of Workman Nydegger, representing ICON
Health & Fitness (“ICON”) in the above-entitled DMCA Subpoena. I am over the age of
eighteen and am competent to testify to all matters contained herein. This declaration is made in

support of the accompanying Subpoena, pursuant to 17 U.S.C. § 512(h)(2)(c).
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3. The purpose of the accompanying Subpoena is to obtain the identity of the alleged
copyright infringer who is identified on the Subpoena. The information obtained will be used
only for the purposes of protecting the rights granted to ICON under Title 17 of the United States
Code.

4, In accordance with Utah Code § 78B-5-705, I declare under criminal penalty of
the State of Utah that the foregoing is true and correct.

DATED this 3rd day of August, 2020

By: /s/ Roger J. McConkie
Roger J. McConkie
